Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 1 of 14 Page|D #: 1

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

 

BMO HARRIS BANK N.A., a national ) Case No.
banking association, ) (Replevin/Damages)
)
Plaintiff, ) VERIFIED COMPLAINT;
) VERIFICATION; EXHIBITS A
v. ) - E; SUMMONS
)
A & M TRUCKING, INC., a Hawaii )
corporation, and MARK D. KUHN, an )
individual resident and citizen of Hawaii, )
)
Defendants. )
VERIFIED COMPLAINT

 

Plaintiff, BMO Harris Bank N.A., by its attorneys, complains of Defendants,
A & l\/l Trucking, Inc. and Mark D. Kuhn, as folloWs:
THE PARTIES
l. Plaintiff, BMO Harris Bank N.A. (“Plaintift”), is a national banking
association With its main office, as set forth in its articles of association, located in

Chicago, Illinois.

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Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 2 of 14 Page|D #: 2

2. Defendant, A & M Trucking, Inc. (“Borrower”), is a limited liability
company organized under the laws of the State of Hawai’i- with its principal place
of business located at 94-229 Waipahu Depot St. #508, Waipahu, Honolulu,
Hawai’i.

3. Defendant, Mark D. Kuhn (“Guarantor,” and together with Borrower,
the “Defendants”), is an individual citizen of the State of Hawai’i residing at 91-

1042 Kaiapua St., Ewa Beach, Honolulu, Hawai’i.

 

JURISDICTION AND VENUE
4. The parties are of diverse citizenship
5. The amount in controversy exceeds the sum of $75,000.00 exclusive

of interest and costs.

6. Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(a).

7. One or more of the Defendants resides within that geographical area
known as the District of Hawaii. Further, the events that gave rise to the causes of
action alleged in this complaint occurred in said District, and the equipment sought
to be recovered in this lawsuit is based within said District.

8. Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

BACKGROUND FACTS
9. On or about April 22, 2016, Plaintiff and Borrower entered into Loan

and Security Agreement No. 7986815-002 (together with all amendments,

1250149.2

Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 3 of 14 Page|D #: 3

modifications, and extensions thereto, the “First Agreement”), whereby Plaintiff
agreed to finance Borrower’s purchase of the equipment described therein for use
in Borrower’s business (together will all attachments, accessions, accessories,
replacement parts, repairs and additions or substitutions thereto, the “First
Agreement Collateral”), and Borrower agreed to pay Plaintiff $847,890.96,
including interest, pursuant to the terms and conditions stated therein. A true and
correct copy of the First Agreement is attached hereto as “Exhibit A.”

lO. On or about May 9, 2016, Plaintiff and Borrower entered into Loan
and Security Agreement No. 7986815-003 (together with all amendments,
modifications, and extensions thereto, the “Second Agreement,” and together with
the First Agreement, the “Agreements”), whereby Plaintiff agreed to finance
Borrower’s purchase of the equipment described therein for use in Borrower’s
business (together will all attachments, accessions, accessories, replacement parts,
repairs and additions or substitutions thereto, the “Second Agreement Collateral,”
and together with the First Agreement Collateral, the “Collateral”), and Borrower
agreed to pay Plaintiff $282,221.52, including interest, pursuant to the terms and
conditions stated therein. A true and correct copy of the Second Agreement is

attached hereto as “Exhibit B.”

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Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 4 of 14 Page|D #: 4

11. In consideration for entering into the Agreements, Borrower granted
Plaintiff a first-priority security interest in the Collateral. In summary, the

Collateral consists of the following equipment:

 

 

 

 

 

Year Make/Model/Desc. VIN

2017 V°l"° Super Dump 4v5KC9DG9HN976675
Truck

2017 V°l"° Supe" Dump 4v5KC9DG4HN976678
Truck

2017 V°lv° Super Dump 4v5KC9DG2HN976680
Truck

2017 V°lv° Super Dump 4v5KC9DG6HN976679
Truck »

 

 

 

 

 

12. Plaintiff perfected its security interest in the Collateral by recording its
lien on the Certificates of Title. True and correct copies of the Certificates of Title
for the Collateral are attached hereto as “Exhibit C.”

13. To induce Plaintiff to enter into the Agreements, Guarantor
guaranteed the full and timely performance of Borrower under all of its past,
present, and future obligations and liabilities to Plaintiff, including but not limited
to Borrower’s performance under the Agreements (the “Guaranty”). True and
correct copies of the Continuing Guaranties dated April 22, 2016 and May 9, 2016
executed by Guarantor in favor of Plaintiff evidencing the Guaranty are attached

hereto as Exhibit D.
14. Under the terms and conditions of the Agreements, failure to make a

payment when due is considered an event of default.

1250149.2

Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 5 of 14 Page|D #: 5

15. Borrower is in default under the Agreements for its failure to pay the
amounts due thereunder. More specifically, Borrower failed to make the October
1, 2017 payment due under the First Agreement and the November 9, 2017
payment due under the Second Agreement. Borrower’s defaults under the
Agreements are continuing

16. Guarantor is in default under the Agreements and the Guaranty for his
failure to pay the amounts due under the Agreements when such amounts became
due.

17. Pursuant to the terms of the Agreements, the entire amounts due
thereunder have been accelerated As of the respective dates of default, the
principal amount due and owing after acceleration totals not less than $751,134.56.

18. Under the Agreements, Borrower is obligated to pay interest on all
unpaid amounts at the default interest rate of eighteen percent (18%) per annum or
the maximum rate not prohibited by applicable law.

19. Under the Agreements, Borrower is obligated to pay late charges and
other fees due under the Agreements.

20. Under the Agreements, upon default, Borrower is obligated to pay all

expenses of retaking, holding, preparing for sale, and selling the Collateral.

1250149.2

Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 6 of 14 Page|D #: 6

21. Under the Agreements, Borrower is obligated to pay the attorneys’
fees and costs incurred by Plaintiff in the enforcement of its rights thereunder,
including this lawsuit.

22. Under the Guaranty, Guarantor is obligated to pay all amounts due
and owing under the Agreements without limitation.

23. Calculated as of November 24, 2017, the amount due and owing
under the Agreements, not including attorneys’ fees and expenses or costs of
collection, is an amount not less than $773,077.59.

24. Plaintiff notified Defendants of their defaults and made demand for
payment under the Agreements and for possession of the Collateral.

25. By letters dated November 29, 2017, Plaintiff again notified Borrower
and Guarantor of their defaults under the Agreements and the Guaranty and made
demand upon them in writing to pay the amounts due thereunder and surrender the
Collateral. True and correct copies of the letters dated November 29, 2017 are
attached hereto as Exhibit E.

26. Despite demand, Defendants have failed and refused to pay the
amount due and owing under the Agreements.

27. Despite demand, Defendants have failed and refused to surrender

possession of the Collateral to Plaintiff

1250149.2

Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 7 of 14 Page|D #: 7

28. Under the Agreements Plaintiff has the right to, with or without
demand or notice, enter any premises where the Collateral may be and take
possession of and remove the Collateral from the premises.

29. The Agreement expressly provides that Plaintiff and Borrower
unconditionally waive their respective rights to a jury trial of any claim or cause of
action relating thereto.

30. Plaintiff and its predecessors-in-interest have performed any and all
conditions and obligations required of them under the Agreement.

COUNT I - Injunctive Relief

31. Plaintiff incorporates and realleges all preceding paragraphs in this
Count I.

32. Borrower continues to possess and utilize, or are capable of utilizing,
the Collateral for commercial purposes.

33. On any given day the Collateral is located, or is capable of being
located, in diverse places throughout O’ahu, and perhaps beyond.

34. Based upon the best knowledge, information,. and belief of Plaintiff,
the Collateral is in use at multiple work-sites or yards, the exact locations of which

are unknown, and some units of the Collateral may be mobile at any given time.

1250149.2

Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 8 of 14 Page|D #: 8

35. The Collateral depreciates and deteriorates as a result of its continued
use by Borrower, with no commensurate value being conferred to Plaintiff in the
form of payments due and owing from Borrower.

36. Borrower has or should have in place capabilities to identify, locate,
and surrender the Collateral, which capabilities may now be breaking down.

37. Plaintiff will suffer irreparable injury for which no adequate remedy at
law exists unless Borrower and other persons and firms having knowledge of this
injunction are (a) enjoined from continuing to use the Collateral; (b) ordered to
advise Plaintiff of the location of the Collateral; and (c) ordered to surrender the
Collateral to Plaintiff.

WHEREFORE, Plaintiff prays that:

a. Borrower and other persons and firms having knowledge of the
injunction be temporarily, preliminarily, and permanently enjoined from
using the Collateral as of the date of entry of the injunction order;

b. Borrower be ordered to disclose to Plaintiff the precise location
of the Collateral in order for Plaintiff to reclaim it;

c. Borrower be temporarily, preliminarily, and permanently
enjoined from restricting access of Plaintiff to the Collateral;

d. Plaintiff be awarded a judgment against Borrower for any

damages sustained by Plaintiff;

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Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 9 of 14 Page|D #: 9

e. Plaintiff be awarded its costs, attorneys’ fees, and interest on all
unpaid amounts due and owing; and

f. Plaintiff be granted such other and further relief as shall be just
and equitable.

COUNT II - Specific Performance

38. Plaintiff incorporates and realleges all preceding paragraphs in this
Count II.

39. In the event of default by Borrower under the Agreements, Borrower
is obligated to return the Collateral at its expense and to any location that Plaintiff
directs.

40. In the event of default by Borrower under the Agreements, Plaintiff is
entitled to take possession of the Collateral or direct Borrower to remove it to a
place deemed convenient by Plaintiff.

41. In the event of default by Borrower under the Agreements, Plaintiff is
entitled to repossess and remove the Collateral, wherever located.

42. Plaintiff has performed its obligations under the Agreements, and is
ready, willing, and able to perform under the Agreements.

43. Despite demand by Plaintiff, Borrower has failed to return the
Collateral.

WHEREFORE, Plaintiff prays that:

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Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 10 of 14 Page|D #: 10

a. Judgment be entered in Plaintiff’ s favor and against Borrower
directing Borrower to specifically perform their respective obligations under
the Agreements, and to return and allow the removal of the Collateral;

b. Plaintiff be awarded a judgment against Borrower for any
damages sustained by Plaintiff;

c. Plaintiff be awarded its costs, attorneys’ fees, and interest on all
unpaid amounts due and owing; and

d. Plaintiff be granted such other and further relief as shall be just
and equitable.

COUNT III - Replevin/Writ of Possession

44. Plaintiff incorporates and realleges all preceding paragraphs in this
Count III.

45. This claim is brought pursuant to Rule 64 of the Federal Rules of
Civil Procedure and HI Rev Stat § 654-l (2013).

46. Pursuant to the Agreements, upon Borrower’s default thereunder,
Plaintiff is lawfully entitled to possession of the Collateral.4 The Collateral consists
of a four (4) 2017 model year Volvo Super Dump Trucks, together will all
attachments, accessions, accessories, replacement parts, repairs and additions or

substitutions thereto.

1250149.2
10

Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 11 of 14 Page|D #: 11

47. Solely for the purpose of setting an appropriate bond and not as an
admission of value, Plaintiff estimates the fair market value of the Collateral as
approximately $587,500.

48. The Collateral has not been taken for a tax, assessment, or fine
pursuant to a statute, or seized under an execution or an attachment against the
Plaintiff or the Plaintiffs property.

49. The Collateral is wrongfully detained by Borrower.

50. According to the best belief of Plaintiff`, no other party claims an
interest in the Collateral. All persons having or claiming an interest in the personal
property have been named as defendants in this action.

51. Based upon the best knowledge, information,` and belief of Plaintiff,
the Collateral is based out of a Borrower’ location at 94-229 Waipahu Depot St.
#508, Waipahu, Honolulu, Hawai’i, but it unlikely to be at such location at any
given time.

52. Given Borrower’s possession of the Collateral, it is within the power
of Borrower to conceal, waste, encumber, convert, convey, or remove the
Collateral from the jurisdiction of the Court, or Plaintiff’ s post-judgment remedy
would be otherwise inadequate

53. Plaintiff claims the value of the Collateral not delivered to the officer

by virtue of the enforcement of a writ of possession

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Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 12 of 14 Page|D #: 12

WHEREFORE, Plaintiff requests that:

a. An order granting the issuance of writs of possession be entered
in favor of Plaintiff granting Plaintiff possession of the Collateral;

b. Plaintiff be awarded a judgment against Borrower for the value
of the Collateral if not delivered;

c. Plaintiff be awarded a judgment against Borrower for damages
for detention;

d. Plaintiff be awarded its costs, attorneys’ fees, and interest on all

unpaid amounts due and owing; and

e. Plaintiff be granted such other and further relief as shall be just

and equitable.

COUNT IV - Breach of Contract (Borrower)

54. Plaintiff incorporates and realleges all preceding paragraphs in this

Count IV.

5 5. Plaintiff has performed all terms and conditions of the Agreements to

be performed by Plaintiff.

56. Borrower has not performed under the Agreements on Borrower’s

part by, among other reasons, failing to make payments under the Agreements

when those payments became due.

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12

Case 1:17-cv-00598-HG-K.]I\/| Document 1 ' Filed 12/18/17 Page 13 of 14 Page|D #: 13

57. Under the Agreements, Plaintiff is entitled to contractual money
damages from Borrower as provided therein.

58. The Agreements provides that Plaintiff shall recover its attorneys’
fees, costs of collection, and interest on all unpaid amounts due and owing.

WHEREFORE, Plaintiff prays that this Court enter a judgment in its favor
and against Borrower in the amount due under the Agreements, the exact amount
to be proven at or before trial, plus its attorneys’ fees, costs, and interest, together
with such other and further relief as shall be just and equitable

COUNT V - Breach of Contract (Guarantor)

59. Plaintiff incorporates and realleges all preceding paragraphs in this
Count V.

60. Plaintiff has performed all terms and conditions of the Agreements
and the Guaranty to be performed by Plaintiff.

61. Guarantor has not performed under the Agreements and the Guaranty
on Guarantor’s part by, among other reasons, failing to make payments under the
Agreements when those payments became due.

62. Under the Agreements and the Guaranty, Plaintiff is entitled to '

contractual money damages from Guarantor as provided therein.

1250149.2
13

Case 1:17-cv-00598-HG-K.]I\/| Document 1 Filed 12/18/17 Page 14 of 14 Page|D #: 14

63. The Agreements and the Guaranty provide that Plaintiff shall recover
its attorneys’ fees, costs of collection, and interest on all unpaid amounts due and
owing.

WHEREFORE, Plaintiff prays that this Court enter a judgment in its favor
and against Guarantor in the amount due under the Agreements and the Guaranty,
the exact amount to be proven at or before trial, plus its attorneys’ fees, costs, and
interest, together with such other and further relief as shall be just and equitable

Dated: December 18, 2017

/s/Christopher J. Muzzi
Christopher J. l\/[uzzi

Attorneyfor Plaintz`jjf
BMO Harrz's Bank N.A.

 

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14

